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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

 

UNITED STATES OF AMERICA, CR16-40032-03
Plaintiff, PLEA AGREEMENT
vs.
CHAD MICHAEL GOTCH,

Defendant.

 

The Defendant, the Defendant’s attorney, and the United States Attorney
for the District of South Dakota hereby submit the following Plea Agreement to
the United States District Court, which Agreement was reached pursuant to
discussions between the United States Attorney and the Defendant’s attorney.
The Agreement is as follows:

A. ACKNOWLEDGMENT AND WAIVER OF RIGHTS AND UNDER-
STANDING OF MAXIMUM PENALTIES: The Defendant agrees that he has
been fully advised of his statutory and constitutional rights herein, and that he
has been informed 0f the charges and allegations against him and the penalty
therefor, and that he understands same. The Defendant further agrees that he
understands that by entering a plea of guilty as set forth hereafter, he will be
waiving certain statutory and constitutional rights to which he is otherwise

entitled.

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B. PLEA AGREEMENT PROCEDURE - NO RIGHT TO WITHDRAW
PLEA IF COURT REJECTS RECOMMENDATION: The United States and the
Defendant agree that this Plea Agreement is presented to the Court pursuant to
Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, which authorizes
the United States to agree that it will recommend, or agree not to oppose, the
Defendant’s request that a particular sentence or sentencing range is
appropriate or that a particular provision of the Sentencing Guidelines, or
policy statement, or sentencing factor, does or does not apply. Such
agreements and recommendations are not binding on the Court, and the
Defendant may not withdraw his plea of guilty if the Court rejects them.

C. PLEA OF GUILTY TO CHARGES: T he Defendant will plead guilty
to Count 1 of the Indictment filed in this case, which charges the violation of
21 U.S.C. §§ 841(a)(1) and 846. The charge carries a mandatory minimum
sentence of 10 years in prison and a maximum sentence of life in prison, a $10
million fine, or both, and a term of supervised release, The term of supervised
release in this case is a minimum of 5 years and a maximum of life. If the
Defendant is found by a preponderance of evidence to have violated a condition
of supervised release, he may be incarcerated for an additional term of up to 5
years on any such revocation and placed on additional supervised release for
any term up to life. There is a $100 assessment to the victims’ assistance

fund.

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T he Defendant will also plead guilty to Count 2 of the Indictment filed in
this case, which charges the violation of 18 U.S.C. §§ 1956(a)(1)(B)(i) and
1956(h). The charge carries a maximum sentence of 20 years in prison, a
$500,000 fine or twice the value of the property involved in the transaction,
whichever is greater, or both imprisonment and a fine, and a period of
supervised release of up to 5 years. If the Defendant is found by a
preponderance of evidence to have violated a condition of supervised release,
he may be incarcerated for an additional term of up to 3 years on any such
revocation. There is a $100 assessment to the victims’ assistance fund.

A civil penalty may also be imposed of not more than the greater of the
value of the property, funds, or monetary instruments involved in the
transaction, or $10,000.

D. VIOLATION OF TERMS AND CONDITIONS: The Defendant
acknowledges and understands that if he violates the terms of this Plea
Agreement, engages in any further criminal activity, or fails to appear for
sentencing, this Plea Agreement shall become voidable at the discretion of the
United States and the Defendant will face the following consequences:

(1) All testimony and other information the Defendant has provided at
any time to attorneys, employees, or law enforcement officers of the United
States, to the Court, or to the federal grand jury may and will be used against

him in any prosecution or proceeding

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(2) The United States will be entitled to reinstate previously dismissed
charges and/ or pursue additional charges against the Defendant, and to use
any information obtained directly or indirectly from him in those additional
prosecutions

(3) The United States will be released from any obligations,
agreements, or restrictions imposed upon it under this Plea Agreement.

E. ACCEPTANCE OF RESPONSIBILITY: The United States agrees
that based upon the information known to it at this time, the Defendant is
entitled to a two-level decrease in his offense level pursuant to U.S.S.G.
§ 3E1.1(a), provided no evidence is disclosed in the presentence report which
indicates the Defendant has not demonstrated a recognition and affirmative
acceptance of personal responsibility for his criminal conduct, and further
provided he: (1) complies with the terms of this Plea Agreement; (2) testifies
truthfully during the change of plea hearing; (3) participates truthfully with the
Probation Office in the presentence investigation; (4) does not violate any
conditions of pretrial detention or release after he signs this agreement; and
(5) continues to exhibit conduct consistent with acceptance of responsibility
Both the United States and the Defendant otherwise reserve the right to
present evidence and make argument regarding sentencing.

F. TIMELY ACCEPTANCE OF RESPONSIBILITY: The United States
agrees that the Defendant has timely notified authorities of his intention to

enter a plea of guilty thereby permitting the United States and the Court to

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allocate their resources efficiently. Therefore, if the offense level determined
prior to the operation of U.S.S.G. § 3E1.1(a) is level 16 or greater and the
Defendant qualifies for a two-level decrease under U.S.S.G. § 3E1.1(a), this
provision shall be treated at the sentencing hearing as a motion pursuant to
U.S.S.G. § 3E1.1(b) to decrease the offense level by one additional level.

G. GOVERNMENT’S RECOMMENDATION REGARDING SENTENCE-
ANY SENTENCE WITHIN STATUTORY LIMITS: At the sentencing hearing,
both the United States and the Defendant are free to recommend whatever
sentence each feels is appropriate, within statutory limits, present evidence,
and make arguments in support thereof. The Defendant understands that any
recommendation made by him or the United States is not binding on the Court.
The Defendant further understands that he may not withdraw his plea of guilty
if the Court rejects any recommendation

H. SPECIAL ASSESSMENT: The Defendant agrees to remit to the
U.S. Clerk of Court, 400 S. Phillips Ave., Sioux Falls, SD 57104, no later than
two weeks prior to sentencing, a certified or cashier’s check payable to the
“U.S. Clerk of Court” in the amount of $200, in full satisfaction of the statutory
costs pursuant to 18 U.S.C. § 3013.

I. MONETARY OBLIGATIONS - DEFENDANT’S ONGOING DUTY:
If the Defendant does not have sufficient financial resources to immediately
satisfy the financial obligations imposed upon him at sentencing, the

Defendant agrees, if requested by the United States, to promptly execute and

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return an executed Authorization to Release Financial Records and
Documents, an executed Authorization to Release Tax Returns and
Attachments and an executed Financial Statement. The Defendant
understands that this is an ongoing duty which continues until such time as
payment is remitted in full. Also the Defendant may be required to furnish the
requested information, as well as current earnings statements and copies of his
W-2s even if the request is made after he has been sentenced.

The Defendant agrees to assist the United States in identifying, locating,
returning, and transferring assets for use in payment of any financial
obligations imposed as part of the sentence in this case.

The Defendant also agrees that if he is incarcerated, he will participate in
the Bureau of Prison’s Inmate Financial Responsibility Program during any
period of incarceration in order to pay any financial obligations ordered by the
Court. The Defendant’s agreement to participate in the Inmate Financial
Responsibility Program does not limit the United States’ right to pursue
collection from other available sources. If there is no period of incarceration
ordered, the Defendant agrees that payment of any financial obligations
ordered by the Court shall be a condition of probation.

J. BASIS FOR PLEA OF GUILTY: The Defendant agrees that the
statement of facts, signed by the parties and incorporated herein by this
reference, provides the basis for his guilty plea in this case, and is a true and

accurate statement of his actions or omissions with regard to the charges to

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which he is entering a plea, and that the Court may rely thereon in determining
the basis for his plea of guilty as provided for in this Plea Agreement.

K. WAIVER OF SPEEDY TRIAL: The Defendant agrees to waive any
rights to a speedy trial under either the United States constitution or the
Speedy Trial Act. This waiver is necessary so that the Court will have the
benefit of all relevant information at sentencing,

L. PARTIES BOUND: It is further understood and agreed that this
agreement is limited to the United States Attorney’s Office for the District of
South Dakota, and that this agreement cannot and does not bind other federal,
state, or local prosecuting authorities

M. SCOPE OF AGREEMENT: This agreement shall include any
attachments, exhibits or supplements designated by the parties. It is further
understood and agreed that no additional promises, agreements, or conditions
have been entered into other than those set forth in this agreement, and this
agreement supersedes any earlier or other understanding or agreement.

N. WAIVER OF DEFENSES AND APPEAL RIGHTS: The Defendant
hereby waives all defenses and his right to appeal any non-jurisdictional
issues. The parties agree that excluded from this waiver is the Defendant’s
right to appeal any decision by the Court to depart upward pursuant to the
sentencing guidelines as well as the length of his sentence for a determination
of its substantive reasonableness should the Court impose an upward

departure or an upward variance pursuant to 18 U.S.C. § 3553(a).

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SUPPLEMENT TO PLEA AGREEMENT

The United States will file a Supplement to Plea Agreement which is

required to be filed in every case in compliance with the Court’s Standing

 

Order.

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Date
APPROVED:

RANDOLPH J. SEILER
United States Attorney
By:

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DENNIS R. HOLMES
Chief, Criminal Division

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Date

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Date

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Chad Michael Gotch
Defendant

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Ryan J. I(olbeck
Attorney for Defendant

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